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 4                                   UNITED STATES DISTRICT COURT
 5                                           DISTRICT OF NEVADA
 6
 7   UNITED STATES OF AMERICA,                 )
                                               )
 8                                 Plaintiff,  )                    Case No. 2:11-cr-00434-LDG-PAL
                                               )
 9   vs.                                       )
                                               )                                  ORDER
10   MANUEL GARZA,                             )
                                               )                     (Substitution of Counsel - Dkt. #173)
11                                 Defendant.  )
     __________________________________________)
12
13          This matter is before the court on a Substitution of Attorneys (Dkt. #173). It seeks to substitute
14   Patrick E. McDonald in the place and stead of Benjamin Durham as counsel for Defendant Manuel
15   Garza. LR IA 10-6(c) requires that any stipulation to substitute attorneys shall be by leave of court and
16   shall bear the signature of the attorneys and the client represented. It provides that the signature of an
17   attorney to substitute into a case “constitutes an express acceptance of all dates then set for pretrial
18   proceedings, for trial or hearing, by the discovery plan, or in any court order.” LR IA 10-6(d) also
19   provides that the substitution of an attorney “shall not alone be reason for delay of pretrial proceedings,
20   discovery, the trial, or any hearing in this case.” The grand jury returned an Indictment (Dkt. #1) on
21   December 13, 2011. On February 14, 2012, the district judge entered an Order (Dkt. #158) granting
22   the parties’ Proposed Complex Case Schedule (Dkt. #148). A jury trial is scheduled for June 4, 2012.
23   Accordingly,
24          IT IS ORDERED that Defendant Garza’s request to substitute Patrick E. McDonald in the
25   place and stead of Benjamin Durham is GRANTED, subject to the provisions of LR IA 10-6(c) and (d).
26          Dated this 3rd day of May, 2012.
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                                                           _________________________________________
28                                                         PEGGY A. LEEN
                                                           UNITED STATES MAGISTRATE JUDGE
